                            UNITED STATES DISTRICT COURT
                            WESTERN DISCTRICT OF MISSOURI


THOMAS R. McLEAN, MD

               Plaintiff,                                     CASE NO.: 4:20-CV-593-BP
                                                              JUDGE: BETH PHILLIPS
v.

JEFFREY W. BRUCE,

               Defendant.


     DEFENDANT’S ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT

       COMES NOW defendant Jeffrey Bruce, by and through his attorneys of record, and for

his Answer to Plaintiff’s First Amended Complaint, alleges and states as follows:

        1.     Defendant is without sufficient information to admit or deny the allegations of

fact and conclusions of law contained in Paragraph 1.

        2.     Defendant admits that Jeffrey W. Bruce is an individual but denies each and every

other allegation of fact and conclusion of law contained in Paragraph 2 of Plaintiff’s First

Amended Complaint.

                                         JURISDICTION

        3.     Defendant admits that this Court has jurisdiction pursuant to 28. U.S.C. § 1332

and that the parties are diverse with more than $75,000 in controversy. Defendant denies all

other allegations of fact and conclusions of law set forth in Paragraph 3 of Plaintiff’s First

Amended Complaint.

        4.     Defendant admits that this Court has personal jurisdiction over the Defendant

because he resides within the district but denies all other allegations of fact and conclusions of

law contained within Paragraph 4 of Plaintiff’s First Amended Complaint.



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        5.     Defendant admits that venue is proper in this Judicial District because Defendant

resides in this district, but Defendant denies all other allegations of fact and conclusions of law

contained in Paragraph 5 of Plaintiff’s First Amended Complaint.

        6.     Defendant admits that he is subject to this Court’s jurisdiction but denies all other

allegations of fact and conclusions of law set forth in Paragraph 6 of Plaintiff’s First Amended

Complaint.

                                               FACTS

        7.     Defendant admits the allegations contained in Paragraph 7 of Plaintiff’s First

Amended Complaint.

        8.     Defendant is without sufficient information to admit or deny the allegations of

fact and conclusions of law contained in Paragraph 8 of Plaintiff’s First Amended Complaint and

therefore, denies same.

        9.     Defendant admits that Plaintiff was suspended in May of 2012 and ultimately

terminated from the Department of Veteran’s Affairs during the final quarter of 2014, but denies

all other allegations of fact and conclusions of law set forth in Paragraph 9 of Plaintiff’s First

Amended Complaint.

        10.    Defendant denies the allegations contained in Paragraph 10 of Plaintiff’s First

Amended Complaint.

        11.    Defendant denies the allegations contained in Paragraph 11 of Plaintiff’s First

Amended Complaint.

        12.    Defendant admits that Plaintiff inquired about the statute of limitations for filing

with the OSC, but denies all other allegations of fact and conclusions of law set forth in

Paragraph 12 of Plaintiff’s First Amended Complaint.



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        13.   Defendant is without sufficient information to admit or deny the allegations of

fact and conclusions of law contained in Paragraph 13 of Plaintiff’s First Amended Complaint

and therefore, denies same.

        14.   Defendant is without sufficient information to admit or deny the allegations of

fact and conclusions of law contained in Paragraph 14 of Plaintiff’s First Amended Complaint

and therefore, denies same.

        15.   Defendant denies the allegations contained in Paragraph 15 of Plaintiff’s First

Amended Complaint.

        16.   Defendant is without sufficient information to admit or deny the allegations of

fact and conclusions of law contained in Paragraph 16 of Plaintiff’s First Amended Complaint

and therefore, denies same.

        17.   Defendant is without sufficient information to admit or deny the allegations of

fact and conclusions of law contained in Paragraph 17 of Plaintiff’s First Amended Complaint

and therefore, denies same.

        18.   Defendant admits the allegations contained in Paragraph 18 of Plaintiff’s First

Amended Complaint.

        19.   Defendant denies the allegations contained in Paragraph 19 of Plaintiff’s First

Amended Complaint.

   Count I: Professional Negligence for Failing to File with the Office of Special Counsel

        20.   Defendant denies the allegations contained in Paragraph 20 of Count I of

Plaintiff’s First Amended Complaint.

        21.   Defendant denies the allegations contained in Paragraph 21 of Count I of

Plaintiff’s First Amended Complaint.



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        22.    Defendant denies the allegations contained in Paragraph 22 of Count I of

Plaintiff’s First Amended Complaint.

        23.    Defendant denies the allegations contained in Paragraph 23 of Count I of

Plaintiff’s First Amended Complaint.

 Count II: Professional Negligence for Failing to File with the Merit Standard Protection
                                          Board

        24.    Defendant denies the allegations contained in Paragraph 24 of Count II of

Plaintiff’s First Amended Complaint.

        25.    Defendant denies the allegations contained in Paragraph 25 of Count II of

Plaintiff’s First Amended Complaint.

        26.    Defendant admits the allegations contained in Paragraph 26 of Count II of

Plaintiff’s First Amended Complaint.

        27.    Defendant denies the allegations contained in Paragraph 27 of Count II of

Plaintiff’s First Amended Complaint.

        28.    Defendant denies the allegations contained in Paragraph 28 of Count II of

Plaintiff’s First Amended Complaint.

        29.    Defendant denies the allegations contained in Paragraph 29 of Count II of

Plaintiff’s First Amended Complaint.

        30.    Defendant denies the allegations contained in Paragraph 30 of Count II of

Plaintiff’s First Amended Complaint.

                                Count III: Breach of Contract

        31.    This Paragraph sets forth a legal conclusion for which no response is required.

However, to the extent that a response is required, Defendant denies the allegations of Paragraph

31 of Count III of Plaintiff’s First Amended Complaint.

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        32.    Defendant denies the allegations contained in Paragraph 32 of Count III of

Plaintiff’s First Amended Complaint.

        33.    Defendant denies the allegations contained in Paragraph 33 of Count III of

Plaintiff’s First Amended Complaint.

        34.    Defendant denies the allegations contained in Paragraph 34 of Count III of

Plaintiff’s First Amended Complaint.

        35.    Defendant denies the allegations contained in Paragraph 35 of Count III of

Plaintiff’s First Amended Complaint.

                    Count IV: Intentional Infliction of Emotional Distress

        36.    This Paragraph sets forth a legal conclusion for which no response is required.

However, to the extent that a response is required, Defendant denies the allegations of Paragraph

36 of Count IV of Plaintiff’s First Amended Complaint.

        37.    This Paragraph sets forth a legal conclusion for which no response is required.

However, to the extent that a response is required, Defendant denies the allegations of Paragraph

37 of Count IV of Plaintiff’s First Amended Complaint.

        38.    Defendant denies the allegations contained in Paragraph 38 of Count IV of

Plaintiff’s First Amended Complaint.

        39.    Defendant denies the allegations contained in Paragraph 39 of Count IV of

Plaintiff’s First Amended Complaint.

                                     Count V: Defamation

        40.    This Paragraphs sets forth a legal conclusion for which no response is required.

However, to the extent that a response is required, Defendant denies the allegations of Paragraph

40 of Count V of Plaintiff’s First Amended Complaint.



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        41.    Defendant admits that statements were made in what is referenced as ECF, filing

number 55, but denies all other allegations of fact and conclusions of law set forth in Paragraph

41 of Count V of Plaintiff’s First Amended Complaint.

        42.    Defendant admits that statements were made in what is referenced as ECF, filing

number 60, but denies all other allegations of fact and conclusions of law set forth in Paragraph

42 of Count V of Plaintiff’s First Amended Complaint.

        43.    Defendant admits that statements were made in what is referenced as ECF, filing

number 75 at page I, but denies all other allegations of fact and conclusions of law set forth in

Paragraph 43 of Count V of Plaintiff’s First Amended Complaint.

        44.    Defendant admits that statements were made in what is referenced as ECF, filing

number 75 at page 2, but denies all other allegations of fact and conclusions of law set forth in

Paragraph 44 of Count V of Plaintiff’s First Amended Complaint.

        45.    Defendant denies the allegations contained in Paragraph 45 of Count V of

Plaintiff’s First Amended Complaint.

        46.    Defendant denies the allegations contained in Paragraph 46 of Count V of

Plaintiff’s First Amended Complaint.

        47.    Defendant denies the allegations contained in Paragraph 47 of Count V of

Plaintiff’s First Amended Complaint.

        48.    Defendant denies the allegations contained in Paragraph 48 of Count V of

Plaintiff’s First Amended Complaint.

        49.    Defendant denies the allegations contained in Paragraph 49 of Count V of

Plaintiff’s First Amended Complaint.




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                                              Damages

        50.    Defendant denies the allegations of fact and conclusions of law set forth in

Paragraph 50 of Plaintiff’s First Amended Complaint, such to include sub-parts “a-d”.

        51.    Plaintiff’s First Amended Complaint fails to state a claim upon which relief may

be granted.

        52.    Plaintiff’s claim for defamation is barred by the doctrine of judicial proceedings

immunity.

        53.    Plaintiff has failed to mitigate his damages by failing to take reasonable steps to

avoid the injuries and harm he alleges in his First Amended Complaint.

        54.    If Plaintiff has been, or is damaged, which is denied, such damage was caused or

contributed to be caused by the negligent conduct of Plaintiff, as set forth in Plaintiff’s First

Amended Complaint, which negligence and conduct bars Plaintiff’s recovery herein.

        55.    The Plaintiff’s claims in the First Amended Complaint are barred by the doctrine

of “unclean hands”.

        56.    If Plaintiff sustained damages alleged, which is denied, then such damage was

caused by an act of omission or co-mission on the part of one or more persons over whom

Defendant has no control, right to control or duty to control.

        57.    Plaintiff’s First Amended Complaint fails to allege sufficient facts to state a claim

for punitive damages.

        58.    Plaintiff’s claim for punitive damages is unconstitutional, in that an award of

punitive damages would constitute a deprivation of property, thus violating the Due Process Claus

of the Fourteenth Amendment to the United States Constitution. Such an award would similarly

violate Article 1, Section 10, and the Due Process Clause, of the Missouri Constitution. An award



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of punitive damages would violate the Equal Protection Clause of the Fourteenth Amendment to

the United States Constitution, and would further violate Article 1, Section 2 of the Missouri

Constitution. An award of punitive damages would violate the United States Constitution and the

Missouri Constitution to the extent it may allow an imposition of unlimited punitive damages

without consideration of alleged actual or compensatory damages. Furthermore, the absence of

objective standards for the application of such damages renders any such award unconstitutional.

         59.     Defendant states that in the event of adjudication of the issues in this cause whereby

either one of these Defendants is held liable to Plaintiff for punitive damages, this Defendant

provides notice to the Court and all parties that they intend to invoke the provisions of R.S.Mo. §

510.265, which provide in part that no award of punitive damages against a Defendant shall exceed

the greater of $500,000.00 or five times the net amount of the judgment awarded to Plaintiff against

that Defendant.

         60.     Defendant respectfully reserves the right to amend his Answer and add such

additional affirmative defenses as are revealed by discovery and investigation.

        WHEREFORE, having fully answered Plaintiff’s First Amended Complaint, Defendant

Jeffrey W. Bruce, respectfully prays that this matter be dismissed, for his cost and expenses

herein incurred, and for such other and further relief as this Court deems just and proper.



                                     DEMAND FOR JURY TRIAL

                 COMES NOW, defendant, by and through his attorney, and hereby makes a demand

for jury trial on all issues so triable.




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                            Respectfully submitted,


                            McCAUSLAND BARRETT & BARTALOS P.C.


                            /s/ Daphne R. Halderman
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                            Daphne Halderman MO #33971
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                            COUNSEL FOR DEFENDANT




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                                    Certificate of Service


       I hereby certify that on August 12, 2021, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following:

       None


        and I hereby certify that I have emailed the document to the following non-CM/ECF
participants:

       Thomas R. McLean, MD
       4970 Park
       Shawnee, KS 66216
       913-525-5526
       tmcllc1999@gmail.com
       PRO SE PLAINTIFF




                                              /s/Daphne R. Halderman
                                              Daphne R. Halderman
                                              For the Firm




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